4:05-cr-03025-RGK-DLP     Doc # 285    Filed: 09/28/06   Page 1 of 1 - Page ID # 1077




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )           4:05CR3025-2
                                         )
            Plaintiff,                   )
                                         )           MEMORANDUM
vs.                                      )           AND ORDER
                                         )
SOKHA KEO,                               )
                                         )
            Defendant.                   )

      There being no objection by the plaintiff,

      IT IS ORDERED that:

      (1)   Sokha Keo’s motion to release compliance bond (filing 278) is granted.

      (2) The Clerk of Court shall refund and return the $2,000 cash bond deposit
to Sokha Keo.

      (3)   The Clerk of Court shall mail a copy of this order to Sokha Keo.

      September 28, 2006.                    BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge




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